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UNITED STATES DISTRICT COURT                                                 Civil Conference
EASTERN DISTRICT OF NEW YORK                                                 Minute Order

Before: James Orenstein                                                      Date:          12/11/2019
        U.S. Magistrate Judge                                                Time:          11:30 a.m.

                                Eliana Galan, et al. v. Carlos Segarra, et al.
                                           18-CV-2603 (JO)

Type of Conference: Status

Appearances: Plaintiffs         Mohammed Gangat

               Defendants       Argilio Rodriguez (counsel); Juan Carlos Segarra, Carlos Segarra
                                        (clients)

Scheduling: There are no further conferences scheduled before me at this time.

Summary: The parties agreed to resolve their dispute with an immediate payment of $25,000 to be
followed by an additional payment of $5,000 in one month.

                                                                                 SO ORDERED

                                                                                        /s/
                                                                                 James Orenstein
                                                                                 U.S. Magistrate Judge
